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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.

  VICTOR ARIZA,

         Plaintiff,

  vs.

  UKW FRANCHISING COMPANY, LLC,
  a Florida limited liability company,

        Defendant.
  ___________________________________/

                                            COMPLAINT

         Plaintiff VICTOR ARIZA, through undersigned counsel, sues Defendant UKW

  FRANCHISING COMPANY, LLC, a Florida limited liability company, and alleges as follows:

         1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

  Americans with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R.

  Part 36. This also is an action for declaratory and injunctive relief, attorney’s fees, costs, and

  expenses for unlawful discrimination in violation of the Rehabilitation Act of 1973, 29 U.S.C.

  §794, et seq. (“Rehab Act”). This is also an action for declaratory and injunctive relief to prevent

  the continuing act of trespass against the Plaintiff’s personal property and for compensatory

  damages to Plaintiff for such trespass. Remedies provided under common law for trespass are not

  exclusive and may be sought in connection with suits brought under the ADA.

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331, and the provisions of the ADA and the Rehab Act. Plaintiff seeks declaratory and

  injunctive relief pursuant to 28 U.S.C. §§2201 and 2202. In addition, this Court has supplementary

  jurisdiction over Plaintiff’s common law tort claim pursuant to 28 U.S.C. §1367.
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         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.

         4.      Plaintiff VICTOR ARIZA is a resident of Miami-Dade County, Florida, is sui juris,

  and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C. §12101

  (“ADAAA”), and is a qualified individual with a disability as defined by the Rehab Act. Indeed,

  Plaintiff is expressly authorized to bring this case under the Rehab Act, 29 U.S.C. §§794(a)(2) and

  794(b)(3)(A), and under Section 505-f of the Rehab Act which enforces Section 504 of the Rehab

  Act, 29 U.S.C. §§794 and 794a, incorporating the rights and remedies set forth in Title VI of the

  Civil Rights Act of 1964, 42 U.S.C. §2000d, et seq.

         5.      Plaintiff is and at all relevant times has been visually disabled in that he suffers

  from optical nerve atrophy, a permanent eye disease and medical condition that substantially and

  significantly impairs his vision and limits his ability to see. Plaintiff thus is substantially limited

  in performing one or more major life activities, including, but not limited to, seeing, accurately

  visualizing his world, and adequately traversing obstacles. As such, he is a member of a protected

  class under the ADA, 42 U.S.C. §12102(1)-(2), the regulations implementing the ADA set forth

  at 28 CFR §§36.101, et seq., and in 42 U.S.C. §3602(h). Plaintiff is also an otherwise qualified

  individual with a disability who has been denied the benefits of a program or activity receiving

  federal financial assistance and is thus covered by the Rehab Act, 29 U.S.C. §794(a).

         6.      Because he is blind and visually disabled, Plaintiff cannot use his computer without

  the assistance of appropriate and available screen reader software. Screen reader software

  translates the visual internet into an auditory equivalent. At a rapid pace, the software reads the

  content of a webpage to the user. “The screen reading software uses auditory cues to allow a

  visually impaired user to effectively use websites. For example, when using the visual internet, a



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  seeing user learns that a link may be ‘clicked,’ which will bring her to another webpage, through

  visual cues, such as a change in the color of the text (often text is turned from black to blue). When

  the sighted user's cursor hovers over the link, it changes from an arrow symbol to a hand. The

  screen reading software uses auditory—rather than visual—cues to relay this same information.

  When a sight impaired individual reaches a link that may be ‘clicked on,’ the software reads the

  link to the user, and after reading the text of the link says the word ‘clickable.’…Through a series

  of auditory cues read aloud by the screen reader, the visually impaired user can navigate a website

  by listening and responding with her keyboard.” Andrews v. Blick Art Materials, LLC, 17-CV-767,

  2017 WL 6542466, at *6-7 (E.D.N.Y. Dec. 21, 2017).

         7.      Defendant is a Florida limited liability company authorized to do business and

  doing business in the State of Florida. Defendant owns, operates, and/or controls through various

  agreements, including franchising agreements, a chain of salons selling to the public body and face

  waxing services, salon care items, and accessories, including one of the stores Plaintiff intended

  to patronize at 2420 Biscayne Boulevard, Miami, Florida. Defendant also owns, leases, leases to,

  operates, and/or controls a business that is the recipient of federal financial assistance. See Exhibit

  “A” attached hereto.

         8.      Plaintiff’s blindness and visual disability limits him in the performance of major

  life activities, including sight, and he requires assistive technologies, auxiliary aids and services

  for effective communication, including communication in connection with his use of a computer.

         9.      Plaintiff frequently accesses the internet. Because he is significantly and

  permanently blind and visually disabled, in order to effectively communicate and comprehend

  information available on the internet and thereby access and comprehend websites, Plaintiff uses

  commercially available screen reader software to interface with the various websites.



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         10.     At all times material hereto, Defendant was and still is an organization that owns,

  operates, and/or controls through agreements, including franchise agreements, a chain of salons

  selling body and face waxing services, salon care items, and accessories under the name “Uni K

  Wax.” Each Uni K Wax store is open to the public. As the owner, operator, and/or controller of

  these salons, Defendant is defined as a place of “public accommodation" within meaning of Title

  III because Defendant is a private entity which owns and/or operates “[A] heath spa or other place

  of exercise, other sales or rental establishment,” per 42 U.S.C. §12181(7)(E) and 28 C.F.R.

  §36.104(12), (5).

         11.     Because Defendant is a store and solon open to the public, each of Defendant’s

  physical salons is a place of public accommodation subject to the requirements of Title III of the

  ADA and its implementing regulations, 42 U.S.C. §12182, §12181(7)(E), and 28 C.F.R. Part 36.

         12.     Defendant    controls,   maintains,   and/or   operates    an   adjunct   website,

  https://unikwax.com (hereinafter the “Website”). One of the functions of the Website is to provide

  the public information on the locations of Defendant’s salons that sell its waxing services and

  beauty products nationwide and within the State of Florida. Defendant also offers and sells to the

  public its products through the Website, which acts as a point of sale for Defendant’s network of

  physical salons.

         13.     The Website also services Defendant’s physical salons by providing information

  on their available merchandiseservices and products, tips and advice, editorials, sales campaigns,

  events, and other information that Defendant is interested in communicating to its customers.

         14.     Because the Website allows the public the ability to secure information about the

  locations of Defendant’s physical salons, purchase merchandise also available for purchase in and

  through the physical salons, purchase gift certificates for use both online and to make purchases



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  of goods and services in and from the physical salons, and sign up for an electronic emailer to

  receive exclusive online offers, benefits, invitations, and discounts for use both online and in the

  physical salons, the Website is an extension of, and gateway to, the goods, services, facilities,

  privileges, advantages, and accommodations of Defendant’s physical salons, which are places of

  public accommodation under the ADA. As an extension of and necessary service, privilege, and

  advantage provided by a place of public accommodation as defined under the ADA, the Website

  acts as a necessary service, privilege, and advantage made available to the general public by

  Defendant at and through its brick-and-mortar locations and businesses. Furthermore, the Website

  is a necessary service, privilege, and advantage of Defendant’s physical salons in that, as a point

  of sale for Defendant’s salons, it enables users of the Website to make online purchases of

  merchandise and gift cards from Defendant that is also available in its physical salons, but ot

  necessarily the physical salon Plaintif intended to patronize.

         15.     Because the public can view and purchase Defendant’s goods through the Website

  that is also offered for sale in Defendant’s physical salons, thus having the Website act as a point

  of sale for Defendant’s products that are also sold in and from the physical salons, purchase gift

  certificates for use both online and to make purchases og goods and services in and from the

  physical salons, and sign up for an electronic emailer to receive exclusive online offers, benefits,

  invitations, and discounts for use online and in the physical salons, the Website is an extension of,

  gateway to, and necessary service, privilege, and advantage of the physical salons, which are places

  of public accommodation pursuant to the ADA, 42 U.S.C. §12181(7)(E). As such, the Website

  acts as a necessary service, privilege, and advantage of Defendant’s brick and mortar salons that

  must comply with all requirements of the ADA, must not discriminate against individuals with

  visual disabilities, and must not deny those individuals the same full and equal enjoyment of the



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  goods, services, facilities, privileges, advantages, and accommodations afforded to the non-

  visually disabled general public both online and in the physical salons.

         16.     At all times material hereto, Defendant was and still is an organization owning,

  operating, and controlling the Website. Since the Website is open to the public through the internet

  and is connected to Defendant’s physical salons as a point of sale of merchandise and gift

  certificates available in and from Defendant’s network of physical salons, the Website is a

  necessary service, privilege, and advantage of Defendant’s brick and mortar salons that must

  comply with all requirements of the ADA, must not discriminate against individuals with visual

  disabilities, and must not deny those individuals the full and equal enjoyment of the services,

  privileges, and advantages afforded the non-visually disabled public both online and in the

  physical store. As such, Defendant has subjected itself and the Website to the requirements of the

  ADA. In addition, as the recipient of federal financial assistance, Defendant has subjected itself

  and all of its operations, programs, and activities, including its Website, to the requirements,

  prohibitions, and anti-discrimination provisions of the Rehab Act.

         17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize in the near future once the Website’s access barriers are removed or remedied,

  Defendant’s physical salons (including the salon located at 2420 Biscayne Boulevard, Miami,

  Florida), and to search for the brick and mortar salons, larn about the salnos services and products,

  check store hours and merchandise pricing, purchase merchandise, purchase gift certificates, and

  sign up for an electronic emailer to receive offers, benefits, exclusive invitations, and discounts

  for use on the Website or in Defendant’s physical salons.

         18.     The opportunity to shop and pre-shop Defendant’s merchandise that is also

  available for purchase and delivery from the physical salons, purchase gift certificates for use both



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  online and to make purchases of goodas and services in the physical salons, and sign up for an

  electronic emailer to receive exclusive online offers, benefits, invitations, and discounts for use

  both online and in the physical salons from his home are important and necessary accommodations

  for Plaintiff because traveling outside of his home as a visually disabled individual is often

  difficult, hazardous, frightening, frustrating and confusing experience. Defendant has not provided

  its business information in any other digital format that is accessible for use by blind and visually

  impaired individuals using the screen reader software.

         19.     Like many consumers, Plaintiff accesses numerous websites at a time to compare

  merchandise, prices, sales, discounts, and promotions. Plaintiff may look at several dozens of sites

  to compare features, discounts, promotions, and prices.

         20.     During the month of March 2021, Plaintiff attempted on a number of occasions to

  utilize the Website to browse through the merchandise and online offers to educate himself as to

  the merchandise, gift certifciates, sales, discounts, and promotions being offered, with the intent

  of making a purchase through the Website or at one of the Defendant’s salons.

         21.     Plaintiff utilizes screen reader software that allows individuals who are blind and

  visually disabled to communicate with websites. However, Defendant’s Website contains access

  barriers that prevent free and full use by blind and visually disabled individuals using keyboards

  and available screen reader software. These barriers are pervasive and include, but are not limited

  to:

                 a. The return to homepage link is mislabeled;

                 b. The sliding banner text descriptions are not labeled to incorporate the screen
                    reader; and

                 c. Blocks of text and other descriptions are not labeled to integrate with the screen
                    reader.



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            22.   The Website also lacks prompting information and accommodations necessary to

  allow blind and visually disabled individuals who use screen reader software to locate and

  accurately fill out online forms to purchase Defendant’s merchandise from the Website.

            23.   Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties communicating with, the Website.

  Although, the Website appeared to have an “accessibility” statement displayed, that “accessibility”

  statement did not provide a viable alternative means to quickly and effectively access and navigate

  the Website and thus continued to be a barrier to blind and visually disabled persons, including

  Plaintiff. Despite Defendant posting on their website that it intends to comply with the Web

  Content Accessibility Guidelines (“WCAG”) 2.0, it still did not provide an alternative means of

  communication and diorect access to Defendant’s goods and services for the blind and visually

  disabled.

            24.   The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded, as he is unable to participate in the same online and in store shopping

  experiences, with the same access to the merchandise, gift certifciates, sales, discounts, and

  promotions, as provided at the Website and in the physical salons as the non-visually disabled

  public.

            25.   Plaintiff desires and intends, in the near future once the Website’s access barriers

  are removed or remedied, to patronize Defendant’s physical salons and to use the Website to

  purchase and access Defendant’s merchandise and gift certificates also available in the physical

  salons, but he is unable to fully do so as he is unable to effectively communicate with Defendant

  and its physical salons due to his severe blindness and visual disability and the Website’s access



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  barriers. Thus, Plaintiff, as well as others who are blind and with visual disabilities, will suffer

  continuous and ongoing harm from Defendant’s intentional acts, omissions, policies, and practices

  as set forth herein unless properly enjoined by this Court.

          26.     Because the Website clearly provides support for and is directly connected with

  Defendant’s salons for its operation and use, and thus is a necessary extension, service, privilege,

  and advantage of Defendant’s brick and mortar salons for the purchase of Defendant’s

  merchandise and gift certificates, the Website must comply with all requirements of the ADA,

  must not discriminate against individuals with disabilities, and must not deny those individuals the

  same full and equal enjoyment of the services, privileges, and advantages of and access to

  Defendant’s merchandise and services as are afforded the non-visually disabled public both online

  and in the physical salons, which are places of public accommodation subject to the requirements

  of the ADA. In addition, because Defendant is the recipient of federal funds, Defendant and all of

  its operations, programs, and activities, including but not limited to the Website, are also subject

  to the requirements of the Rehab Act and thus must not discriminate against qualified or otherwise

  qualified individuals with visual disabilities such as Plaintiff in all of Defendant’s “programs and

  activities”.

          27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

          28.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.

          29.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.



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          30.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

          31.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.

          32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

          33.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

          34.     Defendant has not created and instituted a Specialized Customer Assistance line or

  service or email contact mode for customer assistance for the visually disabled.

          35.     Defendant has not created and instituted on the Website a page for individuals with

  disabilities, nor displayed a link and information hotline, nor created an information portal

  explaining when and how Defendant will have the Website, applications, and digital assets

  accessible to the visually disabled or blind community.

          36.     On information and belief, the Website does not meet the WCAG 2.0 Level AA or

  higher versions of web accessibility.

          37.     Defendant has not disclosed to the public any intended audits, changes, or lawsuits

  to correct the inaccessibility of the Website to blind and visually disabled individuals who want

  the safety and privacy of purchasing Defendant’s merchandise and gift certifciates offered on the

  Website online from their homes.

          38.     Thus, Defendant has not provided full and equal enjoyment of the services,

  facilities, privileges, advantages, accommodations, programs, and activities provided by and

  through the Website in contravention of the ADA and the Rehab Act.



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         39.     Further, public accommodations under the ADA must ensure that their places of

  public accommodation provide effective communication for all members of the general public,

  including individuals with visual disabilities such as Plaintiff. Likewise, under the Rehab Act,

  public accommodations and companies that receive federal financial assistance must not

  discriminate against disabled persons and are required to make the facilities, programs, or activities

  they operate fully and readily accessible to persons with disabilities such as Plaintiff.

         40.     The broad mandate of the ADA is to provide an equal opportunity for individuals

  with disabilities to participate in and benefit from all aspects of American civic and economic life.

  That mandate extends to internet shopping Websites, such as the Website at issue in the instant

  action. In addition, Congress enacted the Rehab Act to enforce the policy of the United States that

  all programs, projects and activities receiving federal assistance " ... be carried out in a manner

  consistent with the principles of ... inclusion, integration and full participation of the individuals

  [with disabilities]." 29 U.S.C. §701(c)(3).

         41.     Defendant is, and at all relevant times has been, aware of the barriers to effective

  communication within the Website which prevent individuals with visual disabilities from the

  means to comprehend information presented therein.

         42.     Defendant is, and at all relevant times has been, aware of the need to provide full

  access to all visitors to the Website.

         43.      The barriers that exist on the Website result in discriminatory and unequal

  treatment of individuals with visual disabilities such as Plaintiff.

         44.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means




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  to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

  in connection with its website access and operation.

         45.       Notice to Defendant is not required because of Defendant’s failure to cure the

  violations.

         46.       Enforcement of Plaintiff’s rights under the ADA and the Rehab Act is right and just

  pursuant to 28 U.S.C. §§2201 and 2202.

         47.       Plaintiff has retained the undersigned attorneys to represent him in this case, and

  has agreed to pay them a reasonable fee for their services.

                                          Trespass Violations

         48.       Plaintiff utilizes his computer to access websites such as Defendant’s Website.

         49.       Plaintiff uses his computer as a method of conveyance of his personal information.

  Plaintiff stores his personal information and retains his browsing history on his computer.

         50.       Based upon a review of the Website, when a user accesses the Website, Defendant

  places software on the Plaintiff’s personal computer and hard drive, without the user’s advance

  consent or knowledge. It is also clear that Defendant has used browser cookies to identify websites

  that Plaintiff has previously visited by accessing Plaintiff’s web browser history.

         51.        Defendant informs the Website user that the user’s personal information and

  browsing history is collected and is used for targeted marketing and advertising.

         52.       Because of his blindness, Plaintiff was unable to fully and meaningfully

  comprehend the Website; therefore, Plaintiff had no choice as to, and likewise no knowledge of,

  Defendant’s installation of the data and information gathering and tracking software, and the

  collection of his browsing history, that was placed on his computer and its hard drive, which in

  fact occurred.



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         53.     Through its Website, Defendant thus has committed a trespass against the Plaintiff

  by the Website’s placement of information gathering and tracking software on Plaintiff’s computer

  without Plaintiff’s knowledge or prior consent.

                             COUNT I – VIOLATION OF THE ADA

         54.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.

         55.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

  the ADA because it owns and/or operates physical stores and the connected Website, as defined

  within §12181(7)(E) and is subject to the ADA.

         56.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

  because it provides the general public with the ability to locate and learn about Defendant’s salons

  and their services, acts as a point of sale for Defendant’s physical salons by allowing users to

  purchase merchandise that is also available for purchase from and in the physical salons, allows

  users to purchase gift certificates for purchases of Defendant’s merchandise both online and in the

  physical salons, and allows users to sign up for an electronic emailer to receive exclusive online

  offers, benefits, invitations, and discounts for use both online and in the physical salons. The

  Website thus is an extension of, gateway to, and necessary service, privilege, and advantage of

  Defendant’s physical salons, which Plaintiff intended to patronize. Further, the Website also

  serves to augment Defendant’s physical salons by providing the public information on the

  locations of the salons and by educating the public as to Defendant’s available products and

  services sold in the physical salons. The Website thus is necessary for Plaintiff to communicate

  with Defendant’s physical salons and to fully enjoy and have access to all of the goods, services,

  privileges, and advantages being offered by Defendant both online and in the physical salons.




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         57.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

  discrimination to deny individuals with disabilities or a class of individuals with disabilities an

  opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

  or accommodation, which is equal to the opportunities afforded to other individuals.

         58.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

  discrimination includes, among other things, “a failure to make reasonable modifications in

  policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.”

         59.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

  discrimination includes, among other things, “a failure to take such steps as may be necessary to

  ensure that no individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and services,

  unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

  the good, service, facility, privilege, advantage, or accommodation being offered or would result

  in an undue burden.”

         60.     Defendant’s Website must comply with the ADA, but it does not as specifically

  alleged hereinabove and below.

         61.     Because of the inaccessibility of the Website, individuals with visual disabilities

  are denied full and equal enjoyment of the goods, information, and services that Defendant has

  made available to the public on its Website and in its physical salons in violation of 42 U.S.C.

  §12101, et seq., and as prohibited by 42 U.S.C. §12182, et seq.



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         62.     The Website was subsequently visited by Plaintiff’s expert in March 2021, and the

  expert determination was that the same access barriers that Plaintiff had initially encountered, as

  well as numerous additional access barriers, existed. Despite being a defendant in at least one

  prior ADA accessibility lawsuit, which resulted in a confidential settlement that obligated

  Defendant to fully remediate the Website, Defendant has made insufficient material changes or

  improvements to the Website to enable its full use, enjoyment, and accessibility for blind and

  visually disabled persons such as Plaintiff. When the Website was visited by the expert, it was

  revealed that, although the Website had an “accessibility” statement linked from its home page,

  that “accessibility” statement still could not be effectively used or accessed by, and continued to

  be a barrier to, visually disabled persons such as Plaintiff. Defendant also has not disclosed to the

  public dates for any intended audits, changes, or lawsuits to correct the inaccessibility of the

  Website to visually disabled individuals, Defendant thus has failed to make reasonable

  modifications in its policies, practices, or procedures when such modifications are necessary to

  afford goods, services, facilities, privileges, advantages, or accommodations to individuals with

  disabilities, in violation of 28 C.F.R. §36.302. The lack of a viable and effective “accessibility”

  notice, policy, or statement and the numerous access barriers as set forth in the Declaration of

  Plaintiff’s expert, Robert D. Moody, attached hereto as Composite Exhibit “B” and the contents

  of which are incorporated herein by reference, continue to render the Website not fully accessible

  to users who are blind and visually disabled, including Plaintiff.

         63.     More violations may be present on other pages of the Website, which can and will

  be determined and proven through the discovery process in this case.




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          64.     Further, the Website does not offer or include the universal symbol for the disabled

  that would permit disabled individuals to access the Website’s accessibility information and

  accessibility facts.

          65.     There are readily available, well established guidelines on the internet for making

  websites accessible to the blind and visually disabled. These guidelines have been followed by

  other large business entities in making their websites accessible. Examples of such guidelines

  include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

  performed using a keyboard. Incorporating such basic components to make the Website accessible

  would neither fundamentally alter the nature of Defendant’s business nor would it result in an

  undue burden to Defendant.

          66.     Defendant has violated the ADA – and continues to violate the ADA – by denying

  access to the Website, and hence its connected physical salons, by individuals such as Plaintiff

  with visual disabilities who require the assistance of interface with screen reader software to

  comprehend and access internet websites. These violations within the Website are ongoing.

          67.     The ADA and ADAAA require that public accommodations and places of public

  accommodation ensure that communication is effective.

          68.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

  text, and video-based telecommunications products and systems.” Indeed, 28 C.F.R. §36.303(b)(2)

  specifically states that screen reader software is an effective method of making visually delivered

  material available to individuals who are blind or have low vision.

          69.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

  appropriate auxiliary aids and services where necessary to ensure effective communication with

  individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided



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  in accessible formats, in a timely manner, and in such a way as to protect the privacy and

  independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

         70.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

  public accommodations, and requires places of public accommodation to be designed, constructed,

  and altered in compliance with the accessibility standards established by Part 36.

         71.     As alleged hereinabove, the Website has not been designed to interface with the

  widely and readily available technologies that can be used to ensure effective communication, and

  thus violates the ADA.

         72.     As a direct and proximate result of Defendant’s failure to provide an ADA

  compliant Website that is an extension, service, privilege, and advantage of, and critical and

  necessary point of sale for, Defendant’s brick and mortar salons, Plaintiff has suffered an injury in

  fact by being denied full access to and enjoyment of the goods, services, privileges and advantages

  of Defendant’s physical store.

         73.     Because of the inadequate development and administration of the Website, Plaintiff

  is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

  ongoing disability discrimination.

         74.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

  Plaintiff appropriate and necessary injunctive relief; including an order to:

         a) Require Defendant to adopt and implement a web accessibility policy to make publicly

  available and directly link from the homepage of the Website to a functional statement as to the

  Defendant’s policy to ensure persons with visual disabilities have full and equal enjoyment of the




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  services, facilities, privileges, advantages, and accommodations offered in Defendant’s physical

  stores through the Website.

         b) Require Defendant to take the necessary steps to make the Website readily accessible

  to and usable by blind and visually disabled users, and during that time period prior to the

  Website’s being readily accessible, to provide an alternative method for individuals with visual

  disabilities to access the information available on the Website until such time that the requisite

  modifications are made, and

         c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

  visual disabilities will be able to effectively communicate with the Website for purposes of

  viewing and locating Defendant’s physical stores and becoming informed of and purchasing

  Defendant’s merchandise online, and during that time period prior to the Website’s being designed

  to permit individuals with visual disabilities to effectively communicate, to provide an alternative

  method for individuals with visual disabilities to effectively communicate for such goods and

  services made available to the general public through the Website and the physical stores.

         75.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

  pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

  for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

  services.

         WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

         A. A declaration that Defendant’s Website is in violation of the ADA;

         B. An Order requiring Defendant, by a date certain, to update the Website, and continue

               to monitor and update the Website on an ongoing basis, to remove barriers in order that



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           individuals with visual disabilities can access, and continue to access, the Website and

           effectively communicate with the Website to the full extent required by Title III of the

           ADA;

        C. An Order requiring Defendant, by a date certain, to clearly display the universal

           disabled logo within the Website, wherein the logo1 would lead to a page which would

           state Defendant’s accessibility information, facts, policies, and accommodations. Such

           a clear display of the disabled logo is to ensure that individuals who are disabled are

           aware of the availability of the accessible features of the Website;

        D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

           accessibility by implementing a website accessibility coordinator, a website application

           accessibility policy, and providing for website accessibility feedback to ensure

           compliance thereto;

        E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

           procedures toward persons with disabilities, for such reasonable time to allow

           Defendant to undertake and complete corrective procedures to its Website;

        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;

        G. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Website to be fully accessible to the visually disabled;




  1
                    or similar.

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            H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

                  provide mandatory web accessibility training to all employees who write or develop

                  programs or code for, or who publish final content to, the Website on how to conform

                  all web content and services with ADA accessibility requirements and applicable

                  accessibility guidelines;

            I. An Order directing Defendant, by a date certain and at least once every three months

                  thereafter, to conduct automated accessibility tests of the Website to identify any

                  instances where the Website is no longer in conformance with the accessibility

                  requirements of the ADA and any applicable accessibility guidelines, and further

                  directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

                  counsel for review;

            J. An Order directing Defendant, by a date certain, to make publicly available and directly

                  link from the Website homepage, a statement of Defendant’s Accessibility Policy to

                  ensure the persons with disabilities have full and equal enjoyment of the Website and

                  shall accompany the public policy statement with an accessible means of submitting

                  accessibility questions and problems;

            K. An award to Plaintiff of his reasonable attorney’s fees, costs, and expenses; and

            L. Such other and further relief as the Court deems just and equitable.

                     COUNT II – VIOLATION OF THE REHABILITATION ACT

            76.      Plaintiff re-alleges paragraphs 1 through 47 and 62 through 65 as if set forth fully

  herein.

            77.      As more specifically set forth above, Defendant has violated the Rehab Act by

  failing to interface its Website with screen reader software utilized by visually disabled



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  individuals. Thus, Defendant has violated the Rehab Act, either directly or through contractual,

  licensing, or other arrangements, with respect to Plaintiff and other similarly situated blind and

  visually disabled individuals solely by reason of their disability:

         a)      By excluding Plaintiff from participation in, denying him the benefits of, and

  subjecting him to, discrimination under any program or activity receiving federal financial

  assistance, Defendant has violated the Rehab Act;

         b)      Congress enacted the Rehab Act to enforce the policy of the United States that all

  programs, projects, and activities receiving federal assistance "be carried out in a manner

  consistent with the principles of ... inclusion, integration and full participation of the individuals

  [with disabilities]." 29 U.S.C. §701(c)(3);

         c)      Defendant is a recipient of federal financial assistance bringing it under the Rehab

  Act which prohibits discrimination against qualified or otherwise qualified individuals in the

  recipient's “programs or activities”;

         d)      Section 504 of the Rehab Act prohibits recipients of federal funding from

  discriminating against disabled persons and requires that facilities, programs, or activities operated

  by a federally funded entity be readily accessible to persons with disabilities;

         e)      The Rehab Act defines “program or activity” as all of the operations of the entire

  corporation, partnership, or other private organization, or sole proprietorship as a whole which

  receives and distributes federal financial assistance. Defendant's website and its content is a

  “program or activity” within the meaning of the Rehab Act, 29 U.S.C. §794(b)(3)(A);

         f)      Plaintiff was denied access to Defendant's website solely by reason of his disability.

  This denial of access to Defendant's “program or activity” subjected Plaintiff to discrimination,

  excluded Plaintiff from participation in the program or activity, and denied Plaintiff the benefits



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  of Defendant's Website, a service available to those persons who are not blind. As of this filing,

  the Website remains inaccessible to qualified or otherwise qualified persons;

         g)      The international website standards organization, WC3, has published widely-

  accepted guidelines (WCAG 2.0 and WCAG 2.1 AA) for making digital content accessible to

  individuals with disabilities. These guidelines have been endorsed the United States Department

  of Justice and by Federal Courts and the United States Access Board; and,

         h)      Defendant has engaged in unlawful practices in violation of Section 504 of the

  Rehab Act, 29 U.S.C. §794, since it launched the Website. These practices include, but are not

  limited to, denying Plaintiff, an individual with a disability who, with or without reasonable

  modifications to the rules, policies, or practices, the removal of communication barriers, or the

  provision of auxiliary aids and services, meets the essential eligibility requirements for the receipt

  of services to participate in programs or activities provided by Defendant.

         78.     Defendant has acted with deliberate indifference to the applicable provisions of the

  Rehab Act in regards to the unlawful practices described herein because Defendant is fully aware

  of the inaccessible features of its Website and has failed to remediate the Website to make it

  equally accessible to persons with visual disabilities. Defendant knew that harm to a federally

  protected right was substantially likely and it failed to act on that likelihood when it failed to

  remediate its Website. Defendant knew this, and on information and belief, a person with authority

  with Defendant to order the remediation of the Website made a deliberate choice not to remediate

  and to continue to offer the inaccessible Website to its customers and potential customers knowing

  that the Website was, and continues to be, inaccessible to the blind and visually disabled.

         79.     Plaintiff would like to be a customer at Defendant's brick and mortar store locations

  but before he goes to any of Defendant’s store, he would like to determine what is available for



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  his purchasing, what promotions are being offered, and what new items are currently available. In

  that regard, Plaintiff continues to attempt to utilize the Website and/or plans to continue to attempt

  to utilize the Website on a regular basis to make selections for purchasing online or in the stores.

         80.     Plaintiff is continuously aware of the violations at Defendant's Website and is aware

  that it would be a futile gesture to attempt to utilize the Website as long as those violations exist

  unless he is willing to suffer additional discrimination.

         81.     Plaintiff has suffered, and continues to suffer, frustration and humiliation as the

  result of the discriminatory conditions present at Defendant's Website. By continuing to operate

  the Website with discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation

  and segregation and deprives Plaintiff the full and equal enjoyment of the benefits of the programs

  and activities available to the general public. By encountering the discriminatory conditions at

  Defendant's Website, and knowing that it would be a futile gesture to attempt to utilize the Website

  unless he is willing to endure additional discrimination, Plaintiff is deprived of the meaningful

  choice of freely visiting and utilizing the same stores or Website readily available to the general

  public and is deterred and discouraged from doing so. By maintaining a Website with access and

  Rehab Act violations, Defendant deprives Plaintiff the equal access and participation in and

  benefits of its programs and activities as the non-visually disabled public.

         82.     Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

  of Defendant's discrimination until the Defendant is compelled to comply with the requirements

  of the Rehab Act.

         83.     Plaintiff has a realistic, credible, existing, and continuing threat of discrimination

  from the Defendant's non-compliance with the Rehab Act with respect to this Website as described

  above. Plaintiff has reasonable grounds to believe that he will continue to be subjected to



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  discrimination in violation of the Rehab Act by the Defendant. Plaintiff desires to access the

  Website to avail himself of the benefits, therein, and/or to assure himself that this Website is in

  compliance with the Rehab Act so that he and others similarly situated will have full and equal

  enjoyment of the Website without fear of discrimination.

            84.       The Plaintiff and all others similarly situated will continue to suffer such

  discrimination, injury, and damage without the immediate relief provided by the RA as requested

  herein.

            85.       Plaintiff is without adequate remedy at law and is suffering irreparable harm based

  on the facts alleged hereinabove.

            86.       Plaintiff has retained the undersigned counsel and is entitled to recover attorney's

  fees, costs, and litigation expenses from the Defendant pursuant to the Rehab Act, 29 U.S.C. §

  794a.

            WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

            A. A declaration that determines that Defendant's Website at the commencement of the

                  subject lawsuit is in violation of the Rehabilitation Act;

            B. A declaration that Defendant's Website continues to be in violation of the

                  Rehabilitation Act;

            C. A declaration that Defendant has violated the Rehabilitation Act by failing to monitor

                  and maintain its Website to ensure that it is readily accessible to and usable by persons

                  with visual disabilities;




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         D. Issuance of an Order directing Defendant to alter its Website to make it accessible to,

               and useable by, individuals with visual disabilities to the full extent required by the

               Rehabilitation Act;

         E. Issuance of an Order directing Defendant to evaluate and neutralize its policies and

               procedures towards persons with disabilities for such reasonable time so as to allow

               Defendant to undertake and complete corrective and remedial procedures;

         F. Issuance of an Order directing Defendant to continually update and maintain its

               Website to ensure that it remains fully accessible to and usable by visually disabled

               individuals;

         G. Award Plaintiff his attorney’s fees, costs, and litigation expenses pursuant to 29 U.S.C.

               §794a; and

         H. Award such other relief as the Court deems just and proper, and/or is allowable under

               the Rehabilitation Act.

                                         COUNT III – TRESPASS

         87.      Plaintiff re-alleges paragraphs 1 through 53 as if set forth fully herein.

         88.      Plaintiff’s tangible personal property, being his computer, its hard drive, and the

  personal information and browsing history stored therein, has suffered a trespass by Defendant on

  each and every occasion that Plaintiff has accessed the Website, due to Defendant’s automatic

  installation of information gathering and tracking software and analytics, which are present on and

  through the Website, on Plaintiff’s computer.

         89.      At all relevant times, Plaintiff did not consent to and was unaware that the Website

  was placing software on his computer due to his inability to effectively communicate with and

  fully view and access the Website.



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         90.      Plaintiff did not consent to the placement of the information gathering and tracking

  software on his computer and its hard drive; therefore, Defendant has committed a trespass against

  Plaintiff by placing such software on his computer and hard drive without his knowledge or prior

  consent.

         91.      By the acts described hereinabove, Defendant has repeatedly and persistently

  engaged in trespass of Plaintiff’s personal property in violation of Florida common law against

  trespass.

         92.      Defendant’s automatic installation, operation, and execution of information

  gathering and tracking software on Plaintiff’s computer and its hard drive have directly and

  proximately impaired the condition and value of the Plaintiff’s computer, thereby causing Plaintiff

  damages.

         93.      The Website has a “Privacy Policy” that discusses the automatic gathering of

  information from, and the automatic placement of cookies and other information gathering

  software on, computers and electronic devices of users of the Website such as Plaintiff. A copy

  of that “Privacy Policy” is attached hereto as Exhibit “C” and its contents are incorporated herein

  by reference.

         94.      Defendant’s trespass to chattels, nuisance, and interference has caused real and

  substantial damage to Plaintiff as follows:

         a)    By consuming the resources of and/or degrading the performance of Plaintiff’s

  computer (including space, memory, processing cycles, and internet connectivity);

         b) By infringing on Plaintiff’s right to exclude others from his computer;

         c) By infringing on Plaintiff’s right to determine, as the owner of his computer, which

  programs should be installed and operated on his computer;



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         d) By compromising the integrity, security, and ownership of Plaintiff’s computer; and

         e) By forcing Plaintiff to expend money, time, and resources in order to remove the

  programs that had been installed on his computer without notice or consent.

         95.       Defendant’s actions were taken knowingly, willfully, intentionally, and in reckless

  disregard for Plaintiff’s rights under the law.

         WHEREFORE, Plaintiff demands a judgment be entered against Defendant for all of

  Plaintiff’s compensatory damages, interest, costs, and such further relief as the Court deems just

  and equitable.

         DATED: June 14, 2021


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